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                                                                             1   LAGOMARSINO LAW
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                                                                             8
                                                                                                                 UNITED STATES DISTRICT COURT
                                                                             9
                                                                                                                     DISTRICT OF NEVADA
                                                                            10
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                                                                            11   MICHAEL BROWN, an individual,                   CASE NO:   2:19-cv-01663-JCM-DJA
LAGOMARSINO LAW




                                                                            12                      Plaintiff,

                                                                            13                         vs.                       STIPULATION AND [PROPOSED] ORDER
                                                                                                                                  TO EXTEND BRIEFING DEADLINES TO
                                                                            14   LAS VEGAS METROPOLITAN POLICE                   DEFENDANTS’ MOTION FOR SUMMARY
                                                                            15   DEPARTMENT, a political subdivision of the             JUDGMENT (ECF NO. 31)
                                                                                 State     of    Nevada;  LAS      VEGAS
                                                                            16   METROPOLITAN POLICE OFFICER ROSE,                           (First Request)
                                                                                 individually; LAS VEGAS METROPOLITAN
                                                                            17   POLICE OFFICER PIEKARSKI, individually;
                                                                                 LAS VEGAS METROPOLITAN POLICE
                                                                            18   OFFICER OSWALD, individually; and LAS
                                                                            19   VEGAS METROPOLITAN POLICE OFFICER
                                                                                 MENDEZ, individually,
                                                                            20
                                                                                                  Defendants.
                                                                            21

                                                                            22
                                                                                        WHEREAS Defendants Officer Kevin Mendez, Officer Zachary Piekarski, Officer Michael
                                                                            23
                                                                                 Rose, Officer Coleman Oswald, and the Las Vegas Metropolitan Police Department (“LVMPD”)
                                                                            24
                                                                                 (collectively “LVMPD Defendants”) filed a Motion for Summary Judgment on October 12, 2020
                                                                            25
                                                                                 (ECF No. 31).
                                                                            26

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                                                                             1          Pursuant to Local Rule IA 6-1(a), the parties hereby stipulate to extend the deadline for

                                                                             2   Plaintiff to file his Response to LVMPD Defendants’ Motions for Summary Judgment. The current
                                                                             3
                                                                                 deadline for Plaintiff to respond to LVMPD Defendants’ Motions for Summary Judgment is
                                                                             4
                                                                                 November 2, 2020. The new deadline for Plaintiff to respond to LVMPD Defendants’ Motion for
                                                                             5
                                                                                 Summary Judgment will be November 23, 2020. As such, the new deadline for LVMPD
                                                                             6
                                                                                 Defendants’ Reply brief will be December 21, 2020.
                                                                             7

                                                                             8          This extension is the first request and is not for the purpose of delay. Good cause exists

                                                                             9   because one (1) of the legal assistants for Plaintiff’s counsel has suddenly been quarantined due to
                                                                            10   testing positive for COVID-19. As a result, Plaintiff’s counsel’s entire firm was forced to undergo
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                                                                            11
                                                                                 immediate COVID-19 testing, which resulted in the attorney that was tasked with drafting the
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                                                                            12
                                                                                 response brief having to work from home.
                                                                            13
                                                                                        Additionally, the partner of the firm for Plaintiff is unavailable for roughly two (2) weeks
                                                                            14

                                                                            15   which resulted in the attorney that was tasked with drafting the response brief having to cover

                                                                            16   multiple appearances for the partner of Plaintiff’s counsel’s firm.

                                                                            17          Due to these unfortunate circumstances, the drafting attorney’s availability during this time
                                                                            18   has been limited to devote adequate time to crafting the response to LVMPD Defendants’ brief as
                                                                            19
                                                                                 he has been forced take on additional briefing and discovery efforts as well as cover multiple
                                                                            20
                                                                                 depositions in other cases that would have otherwise been allocated for the drafting of a response
                                                                            21
                                                                                 brief (all while having to coordinate these things away from home).
                                                                            22

                                                                            23          Furthermore, LVMPD Defendants’ motion is extensive and voluminous, which requires a

                                                                            24   thorough and thoughtful response by Plaintiff.

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                                                                             1          IT IS SO STIPULATED AND AGREED.

                                                                             2   DATED this 16th day of October, 2020.         DATED this 16th day of October, 2020.
                                                                             3
                                                                                 LAGOMARSINO LAW                               KAEMPFER CROWELL
                                                                             4
                                                                                    /s/ Cory M. Ford                .          __/S/ LYSSA ANDERSON_________________.
                                                                             5   Andre M. Lagomarsino, Esq. (#6711)            Lyssa S. Anderson, Esq. (#5781)
                                                                                 Cory M. Ford, Esq. (#15042)                   1980 Festival Plaza Drive, Suite 650
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                                                                                 Henderson, Nevada 89052                       Attorney for LVMPD Defendants
                                                                             7
                                                                                 Attorneys for Plaintiff Michael Brown
                                                                             8

                                                                             9          IT IS SO ORDERED.
                                                                            10                                           ___________________________________________
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                                                                            11                                           UNITED STATES DISTRICT COURT JUDGE
                                                                                                                                 October 21, 2020
LAGOMARSINO LAW




                                                                            12                                           DATED: ______________________________

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